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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

MICHELE PIEPOLI,                       :
                                       :
            Plaintiff,                 :   Civil Action File No.:
                                       :
v.                                     :
                                       :   JURY TRIAL DEMANDED
PHARMACEUTICS                          :
INTERNATIONAL, INC.,                   :
                                       :
            Defendant.                 :

                                  COMPLAINT

       COMES NOW Plaintiff, Michele Piepoli, by and through her undersigned

counsel, and hereby files her Complaint, showing the Court as follows:

                                      Parties

      1.    Plaintiff Michele Piepoli (“Plaintiff” or “Ms. Piepoli”) is a 71-year-old

woman and was at all times herein, a resident of Fulton County, Georgia.

      2.    Ms. Piepoli is an “eligible employee” within the meaning of the FMLA

in that she had been employed with Defendant for more than twelve months and

worked more than 1,250 hours per year.

      3.    Ms. Piepoli, at all relevant times to this action, was an individual with a

disability within the meaning of the ADAAA, 42 U.S.C. § 12102(1).

      4.    Ms. Piepoli was a person with a disability because she had an actual

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physical impairment substantially limiting one or more major life activities, because

she had a record of impairment, and because she was regarded as having an

impairment.

      5.      Defendant Pharmaceutics International, Inc. (“Defendant” or “Pii”) is a

Delaware corporation headquartered at 10819 Gilroy Road, Hunt Valley, Maryland

21030.

      6.      Defendant is a covered employer under the ADAAA, as it employs more

than fifteen people.

      7.      Defendant is also a covered employer under the FMLA, as it had more

than fifty employees within a seventy-five mile radius in each of twenty or more

consecutive calendar weeks in the current or preceding year within the meaning of

the FMLA, 29 U.S.C. § 2601 et seq.

      8.      Defendant Pharmaceutics International, Inc. does not have a registered

agent in Georgia. Pursuant to O.C.G.A. § 14-2-1510, Defendant Pii may be served

with a summons and copy of the Complaint in this action by delivering process to its

Chief Executive Officer, Kurt Nielsen, located at 10819 Gilroy Road, Hunt Valley,

Maryland 21031. Defendant Pii may also be served with a summons and copy of the

Complaint through its registered agent for service of process in the state of Delaware,

The Corporation Trust Company, Corporation Trust Center, 1209 Orange Street,


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Wilmington, DE 19801.

                                Jurisdiction and Venue

      9.     This Court has federal question jurisdiction pursuant to 28 U.S.C. §

1331 over all Counts of this Complaint, which arise out of the Age Discrimination

in Employment Act, 29 U.S.C. § 621 et. seq. (“ADEA”), the Americans with

Disabilities Act Amendments Act of 2008, 42 U.S.C. § 12112 et seq. (“ADAAA”),

and the Family and Medical Leave Act, 29 U.S.C. § 2601 et seq. (“FMLA”). Plaintiff

asserts claims of discrimination and retaliation under the ADEA, ADAAA and the

FMLA. Pursuant to the aforementioned statutes, Plaintiff seeks injunctive and

declaratory relief, back pay and lost benefits, front pay or reinstatement to a full-time

position with commensurate benefits, compensatory damages pursuant to the

ADAAA, liquidated damages under the ADEA and FMLA, punitive damages under

the ADAAA, attorneys’ fees and costs of litigation.

      10.    Venue is proper in this Court because a substantial part of the unlawful

employment practices described herein occurred within the Atlanta Division of the

Northern District of Georgia.

                      Exhaustion of Administrative Remedies

      11.    Ms. Piepoli has satisfied all administrative prerequisites to perfect her

claims under the ADAAA. Specifically, Ms. Piepoli timely filed a Charge of


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Discrimination with the Equal Employment Opportunity Commission (“EEOC”),

and the EEOC issued a notice of right to sue.

       12.    Ms. Piepoli brings this suit within ninety (90) days of receipt of her

notice of right to sue.

                                    Statement of Facts

                          Plaintiff’s Credentials, Hire, and Duties

       13.    Ms. Piepoli has worked in the pharmaceutical industry for over 45 years

and managed her own consulting firm before Pharmaceutics International, Inc.

(“Pii”) recruited her to improve its operations.

       14.    Ms. Piepoli began working as Vice President of Quality for Pii on

February 1, 2017.

       15.    In that role, she was responsible for the quality of every product that

was manufactured. This work included adhering to FDA and European regulations,

interacting with health authorities and inspectors, and overseeing quality control and

quality assurance for all products prior to market release.

       16.    She negotiated a salary of $310,000 per year, plus incentives, an equity

stake, and other benefits. During the contract negotiations, Pii expressed its intent to

hire Ms. Piepoli for a four-year term, which it also indicated in the contract by

offering a 1% equity stake that would vest at a rate of .25% per year over the four


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years she expected to work for Pii. The contract also provided for a severance

payment in the event of her termination by Pii.

  Pii Interfered with and Retaliated Against Ms. Piepoli for Needing to Undergo
                                Cancer Treatments

      17.    On June 29, 2018, Ms. Piepoli was admitted to North Fulton Hospital.

Several days later, she was diagnosed with cancer, which constitutes a disability as

defined by the ADAAA. She had surgery on July 3 and required daily infusion of

antibiotics to address a severe pelvic infection. She was cleared to begin

chemotherapy on August 17 and had a second surgery on September 28.

      18.    Ms. Piepoli was on FMLA leave through mid-November, and Pii’s

CEO at the time, Dr. Abidi, told her not to worry about her leave dates and to focus

instead on her recovery. During her FMLA leave, Ms. Piepoli was off Pii’s payroll

and was first on short term disability under a policy of insurance, then on long term

disability. She offered to work remotely from her home in Fulton County throughout

her treatment, seeking accommodation for her disability, but Mr. Sabone, the Vice

President of Human Resources, encouraged her to stay off the payroll on disability

so “headcount” could be reduced.

      19.    Ms. Piepoli continued to receive chemotherapy but informed Pii she

was able and willing to work remotely from her home in Fulton County, Georgia

throughout her treatment. Her only limitation was attending periodic medical

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appointments for maintenance therapy. Ms. Piepoli had remote access to her

workstation and received business related emails which began decreasing around

mid-July of 2018.

      20.     Beginning in August 2018, Ms. Piepoli contacted Mike Bogda, Pii’s

COO at the time, to discuss a strategy for Ms. Piepoli to continue to manage her

team remotely, but Mr. Bogda refused to engage her. Ms. Piepoli continued to reach

out to Mr. Bogda by telephone and email up until November 2018 in an attempt to

return to work. However, Mr. Bogda had instructed Ms. Piepoli’s team to cease

contact and communication with her.

      21.     On or about January 1, 2019, while Ms. Piepoli was on leave, Pii hired

Kurt Nielsen as its new CEO. Ms. Piepoli reached out to Mr. Nielsen several times

by email and telephone in January and February of 2019 to discuss a reasonable

accommodation for her disability that would allow her to return to work. After

several attempts to reach him went unanswered, she finally spoke with him on

February 28, 2019 and reiterated to him that she was ready to return to work.

            Pii Terminated Ms. Piepoli Because of Her Age and Disability

      22.     Ms. Piepoli heard nothing from Mr. Nielsen for over a month after the

February 28, 2019 phone call.

      23.     In an April 18, 2019 email to Mr. Nielsen, Ms. Piepoli expressly stated


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her desire to discuss “reengagement” with her team and schedule on-site meetings

with her reports to discuss “the current state of compliance and quality organization

status.”

      24.    With full knowledge that Pii intended to terminate Ms. Piepoli’s

employment due to her disability and age, Mr. Nielson refused to allow Ms. Piepoli

to return to work and to meet with him in person. After months of avoiding Ms.

Piepoli’s requests to discuss her return to work, Mr. Nielsen finally agreed to speak

with Ms. Piepoli by telephone on April 24, 2019. During this conversation he told

her that Pii wanted to “transition” her to a one-day-a-month “consulting role” and

would pay her six-months’ severance as required by her contract. Mr. Nielsen said

that Ms. Piepoli could consult on retainer for $2,000 per month, rather than drawing

her base salary of more than 10 times that amount.

      25.    Through counsel, Ms. Piepoli contacted Pii on May 1, 2019, to

understand her employment status and notified Pii that its refusal to reinstate her was

in violation of federal law. In the middle of negotiations over how to resolve her

employment situation, on June 27, 2019, her lawyer was informed that her

employment had been terminated as part of a “reduction in force.” Pii did not contact

Ms. Piepoli, and she received no official correspondence regarding her termination.

      26.    Further, on or about July 1, 2019, Pii placed Ms. Piepoli on COBRA


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without her knowledge or consent and did not inform her that she needed to enroll

in COBRA until December of 2019. Pii’s mismanagement of Ms. Piepoli’s health

benefits impacted her ability to schedule critical immunotherapy appointments

which put her life in jeopardy and caused her to incur additional out-of-pocket costs.

      27.    Pii was aware of Ms. Piepoli’s cancer diagnosis and treatment, but the

company made no effort to engage in an interactive process with her to accommodate

her return to work and, after several months, proposed only a “consulting” role with

a substantial pay cut. When she opposed this decision, which she believed to be

discrimination based on her age and disability, Pii included her in a list of employees

to be laid off, despite its representations. Ms. Piepoli does not believe that she would

have been included in the reduction in force but for her opposition to Pii’s decision

to transition her into a consulting role for lower pay.

      28.    When Mr. Nielsen proposed demoting Ms. Piepoli on April 24, 2019,

he made no mention of a company-wide restructuring or reduction in force. Nor did

he offer her any alternative role in Quality Assurance or Quality Control. The

reduction in force did not take place until June 27, 2019 – two months after Ms.

Piepoli’s final conversation with Mr. Nielson and ten months after Ms. Piepoli first

proposed returning to work.

      29.    All but 13 of the 63 members of the Quality Assurance and Quality


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Control teams who were terminated as a result of the restructure were over the age

of 40. Another employee in Quality Assurance who was battling cancer was

terminated.

       30.    On information and belief, the Pii employee now overseeing Quality is

younger than Ms. Piepoli.

       31.    Further, Ms. Piepoli’s supervisors routinely made comments regarding

Ms. Piepoli being the oldest member of her team and her being too old to live her

lifestyle.

                                 Plaintiff’s Damages

       32.    Due to Plaintiff’s termination, she has been unable to find work other

than occasional consulting work.

       33.    Ms. Piepoli was under a non-compete agreement with Pii, which she

honored, and which prevented her from mitigating her damages.

       34.    As a result of Defendant’s conduct, Plaintiff’s career has been derailed.

She has and continues to suffer lost wages.

       35.    Defendant’s conduct has caused Plaintiff extraordinary emotional

distress,    emotional   pain   and   suffering,   inconvenience,   humiliation    and

embarrassment.

       36.    As a result of Defendant’s conduct, Plaintiff has incurred attorneys’


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fees and expenses.

                            COUNT I
           AGE DISCRIMINATION IN VIOLATION OF THE ADEA

         37.   Plaintiff incorporates by reference all the preceding paragraphs of the

Complaint.

         38.   Plaintiff is 71 years old and, at all relevant times, was an employee

protected by the ADEA.

         39.   At the time of her termination, Plaintiff was qualified for the position

she held based on her record of performance and length of service.

         40.   Pii harbored a discriminatory animus toward older employees which

was evidenced by comments regarding Ms. Piepoli being the oldest member of her

team and being too old to live the lifestyle she was living. and Pii executing its

reduction in force with intent to disproportionately impact employees older than

forty.

         41.   Pii discriminated against Ms. Piepoli in violation of the ADEA by

taking adverse actions against her, including but not limited to making ageist

comments to or about her, interfering with her medical leave and treatment, and

terminating her employment.

         42.   In so doing, Defendant knowingly and intentionally discriminated

against Plaintiff because of her age.

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       43.   In taking these adverse actions against Plaintiff, Defendant unlawfully

discriminated against her based on her age in violation of the ADEA.

       44.   Defendant willfully violated the ADEA in taking these actions against

Plaintiff.

       45.   Plaintiff is entitled to an award of back pay and benefits, front pay,

liquidated damages, injunctive relief, attorneys’ fees, and all other appropriate

damages, remedies, and other relief available under the ADEA and all federal

statutes providing remedies for violations of the ADEA.

                          COUNT II
    DISABILITY DISCRIMINATION IN VIOLATION OF THE ADAAA

       46.   Plaintiff incorporates by reference all the preceding paragraphs of the

Complaint.

       47.   At all relevant times, Plaintiff was an individual with a “disability” as

defined by the ADAAA, 42 U.S.C. § 12102(1), because she (a) suffered mental

and/or physical impairments that substantially limited one or more major life

activities, (b) had a record of such impairments, and/or (c) was regarded by

Defendant as a person with such impairments.

       48.   Plaintiff was at all relevant times a “qualified individual” as that term

is defined by the ADAAA, 42 U.S.C. § 12111(8), because she was able to perform

the essential functions of the job with or without a reasonable accommodation.

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      49.    Pii discriminated against Plaintiff in violation of the ADAAA by taking

adverse actions against her, including but not limited to terminating her employment

because of her disability.

      50.    In so doing, Defendant knowingly and intentionally discriminated

against Plaintiff in violation of the ADAAA.

      51.    In taking these adverse actions against Plaintiff, Defendant unlawfully

discriminated against her based on her disability in violation of the ADAAA.

      52.    As a direct and proximate result of Defendant’s intentional

discrimination, Plaintiff has suffered out of pocket losses and has been deprived of

job-related economic benefits, including income in the form of wages and other

benefits, including healthcare, all in an amount to be established at trial.

      53.    Plaintiff is entitled to an award of back pay and benefits, front pay,

compensatory damages for emotional distress, injunctive relief, attorneys’ fees, and

all other appropriate damages, remedies, and other relief available under the

ADAAA and all federal statutes providing remedies for violations of the ADAAA.

      54.    Defendant’s actions were undertaken intentionally, willfully, and

maliciously with respect to, or with reckless disregard for, Plaintiff’s federally

protected rights, and she is therefore entitled to punitive damages.

      55.    In taking these adverse actions against Plaintiff, Defendant unlawfully


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discriminated against her based on her disability in violation of the ADAAA, 42

U.S.C. § 12112(b)(4).

                       COUNT III
    FAILURE TO ACCOMMODATE IN VIOLATION OF THE ADAAA

      56.    Plaintiff incorporates by reference all the preceding paragraphs of the

Complaint.

      57.    At all relevant times, Plaintiff was an individual with a “disability” as

defined by the ADAAA, 42 U.S.C. § 12102(1), because she (a) suffered mental

and/or physical impairments that substantially limited one or more major life

activities, (b) had a record of such impairments, and/or (c) was regarded by

Defendant as a person with such impairments.

      58.    Plaintiff was at all relevant times a “qualified individual” as that term

is defined by the ADAAA, 42 U.S.C. § 12111(8), because she was able to perform

the essential functions of the job with or without a reasonable accommodation.

      59.    Plaintiff sought an accommodation under the ADAAA when, among

other things, she notified Pii of her cancer diagnosis, her need for ongoing monthly

treatment and attempted to contact decisionmakers at Pii regarding strategies for a

return to work.

      60.    Defendant unlawfully failed to accommodate Plaintiff’s disability

when, instead of allowing her to continue working and seeking treatment, it ignored

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her requests to return to work with a modified schedule that would allow her to

receive treatment and terminated her employment.

      61.    By denying Plaintiff reasonable accommodations and instead

terminating her employment, Defendant discriminated against Plaintiff because of

her disability and violated her rights under the ADAAA, 42 U.S.C. § 12112(5)(A).

      62.    Defendant’s actions, in failing to accommodate Plaintiff’s disability,

constitute unlawful intentional failure to accommodate in violation of the ADAAA.

      63.    As a result of Defendant’s unlawful actions, Plaintiff has suffered

emotional distress, inconvenience, loss of income and benefits, including health

insurance, humiliation, and other indignities compensable under the ADAAA, for

which Defendant is liable.

      64.    Defendant violated the ADAAA willfully, wantonly, and intentionally

to harm Plaintiff and her federally protected rights. Additionally, and in the

alternative, Defendant acted with reckless disregard for Plaintiff and her federally

protected rights and she is therefore entitled to punitive damages.

                             COUNT IV
              RETALIATION IN VIOLATION OF THE ADAAA

      65.    Plaintiff incorporates by reference all of the preceding paragraphs of the

Complaint.

      66.    At all relevant times, Plaintiff was an individual with a “disability” as

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defined by the ADAAA, 42 U.S.C. § 12102(1), because she (a) suffered mental

and/or physical impairments that substantially limited one or more major life

activity, (b) had a record of such impairments, and/or (c) was regarded by Defendant

as a person with such impairments.

       67.      Plaintiff was at all relevant times a “qualified individual” as that term

is defined by the ADAAA, 42 U.S.C. § 12111(8), because she was able to perform

the essential functions of the job with or without a reasonable accommodation.

       68.      Plaintiff engaged in statutorily protected activity by, among other

things, exercising or attempting to exercise or enjoy her rights under the ADAAA,

including but not limited to, requesting a reasonable accommodation for her

disabilities.

       69.      Defendant unlawfully retaliated against Plaintiff, including, but not

limited to, terminating her employment after she required periodic medical treatment

for maintenance therapy.

       70.      Defendant’s actions, in subjecting Plaintiff to retaliation for engaging

in protected activity by, among other things, seeking a reasonable accommodation

for her disability, constitute unlawful intentional retaliation in violation of the

ADAAA.

       71.      Defendant’s actions amount to violations of the ADAAA, which


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prohibits employers from discriminating against an individual because she has

opposed any act or practice made unlawful under the ADAAA, 42 U.S.C. §

12203(a), and also prohibits employers from coercing, intimidating, threatening, or

interfering with any individual in the exercise or enjoyment of rights under the

ADAAA on account of her having exercised or enjoyed or attempted to exercise or

enjoy such rights, 42 U.S.C. § 12203(b).

      72.    As a result of Defendant’s unlawful actions, Plaintiff has suffered out-

of-pocket losses and has been deprived of job-related economic benefits, including

income in the form of wages and other benefits, all in an amount to be established at

trial as well as emotional distress, inconvenience, loss of income and benefits,

humiliation, and other indignities compensable under the ADAAA, for which

Defendant is liable. Ms. Piepoli was under a non-compete agreement with the

company, which she honored, and which prevented her from mitigating her

damages.

      73.    Defendant violated the ADAAA willfully, wantonly, and intentionally

to harm Plaintiff and in violation of her federally protected rights. Additionally, and

in the alternative, Defendant acted with reckless disregard for Plaintiff and her

federally protected rights, and she is therefore entitled to punitive damages.




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                               COUNT V
                   INTERFERENCE IN VIOLATION OF FMLA

      74.    Plaintiff incorporates by reference all the preceding paragraphs of the

Complaint.

      75.    Defendant is an employer covered by the FMLA pursuant to 29 U.S.C.

§ 2611(4)(A)(i).

      76.    Plaintiff was an eligible employee under the FMLA pursuant to 29

U.S.C. § 2611(2).

      77.    Following her first surgery on July 3, 2018, Plaintiff was entitled to

leave under the FMLA pursuant to 29 U.S.C. § 2612(a)(1).

      78.    On August 17, 2018, Ms. Piepoli began chemotherapy which required

treatment about every three weeks to treat her cancer, which she was entitled to under

the FMLA pursuant to 29 U.S.C. § 2612(a)(1), but Defendant engaged in prohibited

conduct under the same by terminating her rather than allowing her to continue them.

      79.    Defendant’s prohibited conduct constitutes an unlawful interference

against Plaintiff in violation of Plaintiff’s rights under the FMLA pursuant to 29

U.S.C. § 2615(a).

      80.    By terminating Plaintiff’s employment when she was entitled to take

leave under 29 U.S.C. § 2612(a)(1)(C) and § 2612(a)(1)(D), and by considering her

desire to take use of protected leave as a “motivating factor” in the decision to

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terminate her employment, among other actions, Defendant interfered with and

prevented Plaintiff from exercising the rights provided to her under the FMLA.

       81.   The actions of Defendant in interfering with Plaintiff’s leave under the

FMLA were willful and committed with reckless disregard for her right to take up

to 12 work weeks of leave time or intermittent leave because of her serious health

condition and in violation of 29 U.S.C. § 2612(a)(1)(C) and § 2612(a)(1)(D).

       82.   The effect of the actions of Defendant has been to deprive Plaintiff of a

job, as well as income in the form of wages, health insurance, prospective retirement

benefits, social security, and other benefits as a result of her right to leave under the

FMLA. Accordingly, and because the violations of the FMLA committed by

Defendant, Plaintiff is entitled to both equitable and monetary relief pursuant to 29

U.S.C. § 2617(a)(1)(A) and (B), including, but not limited to, back pay and other

lost economic benefits of employment, reinstatement or front pay in lieu of

reinstatement, and reasonable attorney’s fees and costs of litigation.

       83.   Defendant acted purposely and with malice with intent to injure

Plaintiff.

       84.   Plaintiff also is entitled to liquidated damages for Defendants’ willful

violation of her rights under the FMLA. 29 U.S.C. § 2617(a)(1)(A)(iii).

       85.   As a direct and proximate result of Defendant’s actions and unlawful


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interference with Plaintiff’s FMLA rights, Plaintiff has suffered severe damages.

      86.    Plaintiff’s employment was terminated and Plaintiff has incurred, and

will continue to incur, substantial economic damages.

      87.    Plaintiff is entitled to recover all appropriate relief afforded under the

FMLA.

                              COUNT VI
                   RETALIATION IN VIOLATION OF FMLA

      88.    Plaintiff incorporates by reference all the preceding paragraphs of the

Complaint.

      89.    Defendant is an employer covered by the FMLA pursuant to 29 U.S.C.

§ 2611(4)(A)(i).

      90.    Plaintiff was an eligible employee under the FMLA pursuant to 29

U.S.C. § 2611(2).

      91.    Following her first surgery on July 3, 2018, Plaintiff was entitled to

leave under the FMLA pursuant to 29 U.S.C. § 2612(a)(1).

      92.    On August 17, 2018, Ms. Piepoli began chemotherapy which required

treatment about every three weeks to treat her cancer which she was entitled to under

the FMLA pursuant to 29 U.S.C. § 2612(a)(1), but Defendant engaged in prohibited

conduct under the same by terminating her rather than allowing her to continue them.

      93.    By terminating Plaintiff’s employment when she was entitled to take

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leave under 29 U.S.C. § 2612(a)(1)(C) and § 2612(a)(1)(D), and by considering her

desire to take use of protected leave as a “motivating factor” in the decision to

terminate her employment, among other actions, Defendant retaliated against

Plaintiff because of her exercising the rights provided to her under the FMLA.

      94.    The actions of Defendant in interfering with Plaintiff’s leave under the

FMLA were committed with reckless disregard for her right to take up to 12 work

weeks of leave time because of her serious health condition and in violation of 29

U.S.C. § 2612(a)(1)(C) and § 2612(a)(1)(D).

      95.    The effect of the actions of Defendant has been to deprive Plaintiff of a

job, as well as income in the form of wages, health insurance, prospective retirement

benefits, social security, and other benefits as a result of her right to leave under the

FMLA. Accordingly, and because the violations of the FMLA committed by

Defendant, Plaintiff is entitled to both equitable and monetary relief pursuant to 29

U.S.C. § 2617 (a)(1)(A) and (B), including, but not limited to, back pay and other

lost economic benefits of employment, reinstatement or front pay in lieu of

reinstatement, and reasonable attorney’s fees and costs of litigation.

      96.    Defendant’s prohibited conduct constitutes an unlawful retaliation

against Plaintiff in violation of Plaintiff’s rights under the FMLA pursuant to 29

U.S.C. § 2615 (a).


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      97.     Defendant acted purposely, willfully, with malice and with intent to

injure Plaintiff. Plaintiff is also entitled to liquidated damages for the willful

violation of her rights under the FMLA, 29 U.S.C. § 2671 (a)(1)(A)(iii).

      98.    As a direct and proximate result of Defendant’s actions and unlawful

retaliation against Plaintiff, Plaintiff has suffered severe damages.

      99.    Plaintiff’s employment was terminated, and Plaintiff has incurred, and

will incur, substantial economic damages.

      100. Plaintiff is entitled to recover all appropriate relief afforded under the

FMLA.

                              PRAYER FOR RELIEF

      WHEREFORE, Plaintiff demands a TRIAL BY JURY and that the following

relief be granted:

      A.     That this Court take jurisdiction of this matter;

      B.     That process be served;

      C.     That Plaintiff be awarded a declaratory judgment that Defendant

violated the ADEA, the ADAAA, and the FMLA;

      D.     That this Court enter a permanent injunction, prohibiting Defendant

from engaging in unlawful employment practices in violation of the ADEA, the

ADAAA, and the FMLA;


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         E.    That the Court award Plaintiff back pay and all benefits, privileges, and

rights previously denied under the ADEA, the ADAAA, and the FMLA;

         F.    That Plaintiff be reinstated to her former position with Defendant at the

same pay rate, or in the alternative, front pay to compensate Plaintiff for lost future

wages and benefits;

         G.    That the Court award Plaintiff liquidated and/or double damages under

the ADEA and FMLA for Defendant’s willful violation of the law;

         H.    That the Court award compensatory and punitive damages under the

ADAAA in an amount to be determined by the trier of fact;

         I.    That the Court award Plaintiff her costs in this action and reasonable

attorneys’ fees;

         J.    That the Court grant to Plaintiff the right to have a trial by jury on all

issues triable to a jury; and

         K.    That the Court grant such additional relief as the Court deems proper and

just.

         Respectfully submitted this 6th day of August, 2021.

                                            BUCKLEY BEAL, LLP

                                            s/Edward D. Buckley
                                            Edward D. Buckley
                                            Georgia Bar No. 092750
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